               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



ZARED KINAH JONES,                )
                                  )
          Plaintiffs,             )
                                  )
     v.                           )         1:19CV930
                                  )
S.A. ALVAREZ, J.M. CHAVEZ,        )
K.R. JOHNSON, F.T. WRIGHT,        )
and S.K. FLOWERS,                 )
                                  )
          Defendants.             )


                     MEMORANDUM OPINION AND ORDER

OSTEEN, JR., District Judge

     Before this court is a Motion for Summary Judgment filed by

Defendants S.A. Alvarez, J.M. Chavez, K.R. Johnson, F.T. Wright,

and S.K. Flowers. (Doc. 71.) Plaintiff Zared Kinah Jones filed a

“Motion for Extension of Time to Submit Plaintiff’s Responses to

Defense’s Interrogatories and Admissions; to Defense,”

(Doc. 76), a brief in support of that motion, (Doc. 77), and

responses to Defendants’ discovery requests, (Doc. 77-1).

Defendants have filed a Motion for Sanctions for Plaintiff’s

failure to comply with the court’s discovery order, (Doc. 82),

and a Motions in Limine, (Doc. 84).

     For the reasons set forth herein, this court will grant

Defendants’ Motion for Summary Judgment, (Doc. 71), deny




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Plaintiff’s motion for an extension of time, (Doc. 76), as moot

and treat Plaintiff’s discovery responses, (Doc. 77-1), as

timely filed, and deny Defendants’ Motion for Sanctions,

(Doc. 82), and Motions in Limine, (Doc. 84), as moot.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       A.   Factual Background

       The majority of facts are not disputed, and any material

factual disputes will be specifically addressed in the relevant

analysis. Additional relevant facts will be addressed as

necessary throughout the opinion. This court reviews the facts

and all reasonable inferences in the light most favorable to

Plaintiff. See Scott v. Harris, 550 U.S. 372, 378 (2007).

       Defendants are police officers with the Greensboro Police

Department. (See Ex. A, Decl. of Lieutenant S.K. Flowers

(“Flowers Decl.”) (Doc. 72-1) ¶ 2; Ex. B, Decl. of Officer J.M.

Chavez (“Chavez Decl.”) (Doc. 72-2) ¶ 2; Ex. E, Decl. of Officer

S.A. Alvarez (“Alvarez Decl.”) (Doc. 72-5), ¶ 2.)

       On the night of September 9, 2016, Plaintiff and his

friends decided to go out in downtown Greensboro, North

Carolina. (Ex. C, Dep. of Zared Kinah Jones (“Jones Dep.”)




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(Doc. 72-3) at 7–8.)1 Plaintiff and his friends parked on Elm

Street and were gathered outside of their car for around fiv e

minutes while they discussed where they wanted to go next. ( Id.

at 9–11.)

            1.   Initial Detention

     While they were standing near the car, Defendants, who are

police officers, arrived on bicycles. (Id. at 18–19.) Plaintiff

is unsure of exactly how many officers approached his friends

and him. (Id. at 19.) Defendants asked Plaintiff and his friends

some questions. (Id.) Defendants never told Plaintiff and his

friends that they could not leave. (Jones Dep. (Doc. 72-3) at

21; see also Flowers Decl. (Doc. 72-1) ¶ 11; Chavez Decl.

(Doc. 72-2) ¶ 9.) Defendants never touched Plaintiff or drew

weapons. (Jones Dep. (Doc. 72-3) at 21–22.) Defendants asked

Plaintiff and his friends what they were doing in the area. (Id.

at 22.) When Plaintiff asked if his friends and he could leave,




     1 All citations in this Memorandum Opinion and Order to
documents filed with the court refer to the page numbers located
at the bottom right-hand corner of the documents as they appear
on CM/ECF.

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Defendants told them that they could leave, and Plaintiff and

his friends went to a bar. (Id. at 21.)

          2.   Plaintiff’s Arrest

     Plaintiff went into the bar by himself. (Id. at 24.) He was

later kicked out. (Id. at 25–26; Flowers Decl. (Doc. 72-1) ¶ 15;

Alvarez Decl. (Doc. 72-5) ¶¶ 5, 7.) Defendants Flowers and

Alvarez approached Plaintiff and his friends outside of the bar.

(Flowers Decl. (Doc. 72-1) ¶ 16; Alvarez Decl. (Doc. 72-5) ¶¶ 4–

6; Jones Dep. (Doc. 72-3) at 27.) After learning that Plaintiff

had been kicked out of the bar, Defendants Flowers and Alvarez

advised Plaintiff and his friends to leave, but Plaintiff

refused. (Flowers Decl. (Doc. 72-1) ¶¶ 15–16; Alvarez Decl.

(Doc. 72-5) ¶ 8.) The officers smelled the odor of alcohol on

Plaintiff, observed that Plaintiff had slurred speech, was

sweating significantly, was not comprehending the activity

taking place around him, and was argumentative. (Alvarez Decl.

(Doc. 72-5) ¶ 6; Flowers Decl. (Doc. 72-1) ¶ 17.) Based on

Defendants’ training and experience, Plaintiff was intoxicated.

(Flowers Decl. (Doc. 72-1) ¶ 17; see also Alvarez Decl.

(Doc. 72-5) ¶ 6.) Plaintiff argued with Defendants Flowers and

Alvarez and continued to refuse to leave the area. (Flowers

Decl. (Doc. 72-1) ¶ 19; Alvarez Decl. (Doc. 72-5) ¶ 10.)

Defendants believed Plaintiff and his friends were blocking


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access to the sidewalk outside of the bar. (Flowers Decl.

(Doc. 72-1) ¶ 18; Alvarez Decl. (Doc. 72-5) ¶ 9.) After

Plaintiff continued arguing with Defendants Alvarez and Flowers

and refusing to leave the area, Defendant Flowers arrested

Plaintiff. (Flowers Decl. (Doc. 72-1) ¶ 19–20; see also Alvarez

Decl. (Doc. 72-5) ¶ 11.)

     After Plaintiff was arrested, Defendant Alvarez went before

Magistrate Brett Moore and described the events that led to

Plaintiff’s arrest. (Alvarez Decl. (Doc. 72-5) ¶ 13.) The

Magistrate issued an order finding probable cause existed for

Plaintiff’s arrest. (Ex. 1 (“Magistrate’s Order”) (Doc. 12-1).)

     B.   Procedural Background

     Plaintiff, proceeding pro se, brings this action pursuant

to 42 U.S.C. § 1983. Plaintiff filed an Amended Complaint, (Am.

Compl. for Violation of Civil Rights (“Am. Compl.”) (Doc. 16)),

and Defendants moved to dismiss, (Doc. 22). This court granted

in part Defendants’ motion to dismiss. (Mem. Op. & Order

(Doc. 48) at 46–47.) Plaintiff’s § 1983 unconstitutional

detention and bystander liability claims, as well as Plaintiff’s

§ 1983 unconstitutional arrest claim against Defendants Flowers

and Alvarez survived the motion to dismiss. (Id.)

     After discovery, Defendants moved for summary judgment,

(Doc. 71), and filed a brief in support, (Mem. of Law in Supp.


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of Defs.’ Mot. for Summ. J. (“Defs.’ Br.”) (Doc. 72)). Plaintiff

responded, (Br. in Supp. of Pl.’s Opp’n to the Defenses Mot. for

Dismissal/Summ. J. (“Pl.’s Resp.”) (Doc. 75-1)),2 and

additionally filed a motion for extension of time to respond to

Defendants’ discovery requests, (Doc. 76). Defendants replied to

Plaintiff’s response brief. (Reply Br. in Supp. of Defs.’ Mot.

for Summ. J. (“Defs.’ Reply”) (Doc. 79).)

II.   MOTION FOR EXTENSION OF TIME

      Plaintiff moves the court for an extension of time to

respond to Defendants’ discovery requests. (Doc. 76 at 1.)3 On

March 31, 2022, the Magistrate Judge ordered Plaintiff to

supplement his responses to Defendants’ discovery requests on or

before May 2, 2022. (Text Order 03/31/2022.) On May 9, 2022, a

week after that deadline, Plaintiff attached his responses to

Defendants’ discovery requests to his brief accompanying his


      2On May 25, 2022, this court denied as moot Plaintiff’s
motion for extension, (Doc. 74), and deemed as timely filed
Plaintiff’s response brief, (Doc. 75-1). (Doc. 80.) Plaintiff’s
response brief not only argues Defendants are not entitled to
summary judgment but also appears to argue Plaintiff is entitled
to summary judgment in his favor. (See Pl.’s Resp. (Doc. 75-1)
at 9.) To the extent Plaintiff has embedded a motion for summary
judgment in his response brief, that motion is (1) filed almost
five months after the December 22, 2021 deadline for filing
dispositive motions, (Doc. 60 at 1), and (2) does not comply
with Local Rule 7.3(a), and accordingly will be denied.
      3The date requested in Plaintiff’s motion, November 12,
2021, appears to be an error because Plaintiff filed the motion
on May 9, 2022, six months after the requested extension.
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motion for an extension of time. (Doc. 77-1.) Defendants then

took ten days to review Plaintiff’s discovery responses before

they filed their reply brief. (See Defs.’ Reply (Doc. 79).)

     Pro se litigants are traditionally held to less stringent

standards than attorneys, particularly as to pleadings, by the

courts. See Erickson v. Pardus, 551 U.S. 89, 94 (2007). Although

Plaintiff filed his discovery responses a week after the

Magistrate Judge’s deadline, Defendants had sufficient time to

review his responses before filing their summary judgment reply

brief. Considering Plaintiff’s pro se status, this court will

treat Plaintiff’s discovery responses as timely filed. Having

considered the motion, the court finds that Plaintiff’s motion

for extension, (Doc. 76), should be denied as moot, and

Plaintiff’s responses to Defendants’ discovery requests,

(Doc. 77-1), will be deemed timely filed as of May 9, 2022.

III. PLAINTIFF’S EXHIBITS

     Before addressing the merits of Defendants’ Motion for

Summary Judgment, this court finds it necessary to determine the

extent to which this court may consider the exhibits attached to

Plaintiff’s response brief. Specifically, Defendants argue

Exhibits A, I, J, the email attached to Exhibit K, and Exhibit L

are objectionable under Federal Rule of Civil Procedure

56(c)(2). (Defs.’ Reply (Doc. 79) at 2.)


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     A.   Written Statements

     Exhibit A and the email attached to Exhibit K are both

correspondences from Plaintiff’s former attorney, Graham Holt,

to the Greensboro mayor and city council regarding the

underlying facts of this case. (See Doc. 75-2; Doc. 75-11 at 3–

5.) To the extent Mr. Holt’s correspondences can be considered

an affidavit or declaration, they do not meet the requirements

of Federal Rule of Civil Procedure 56, which requires affidavits

or declarations “used to support or oppose a motion” for summary

judgment “be made on personal knowledge.” Fed. R. Civ. P.

56(c)(4). Mr. Holt’s knowledge of the underlying events of this

case comes in large part from viewing police body worn camera

footage of the events. (See Doc. 75-2 at 2; Doc. 75-11 at 4

(discussing the contents of “the footage”).) Plaintiff does not

contend Mr. Holt was present during Plaintiff’s interactions

with Defendants. Because Mr. Holt’s characterizations of the

underlying facts of this case are not based on person al

knowledge, they are not proper for this court to consider at

summary judgment. Therefore, this court will strike Plaintiff’s

Exhibit A, (Doc. 75-2), and the attachment to Exhibit K,

(Doc. 75-11 at 3–5), from the record.4


     4 Additionally, neither of Mr. Holt’s correspondences,
assuming they can be treated as affidavits or declarations, meet
the requirements of 28 U.S.C. § 1746 for unsworn declarations
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     Exhibit L is an August 24, 2017 document “Zared Kinah

Jone’s [sic] Complaint Against the Following Greensboro Police

Department Officers.” (Doc. 75-12.) To the extent this document

is Plaintiff’s affidavit or declaration, it does not meet the

requirements of 28 U.S.C. § 1746 such that this court can

consider it on summary judgment. See 28 U.S.C. § 1746(1)

(requiring unsworn declaration to “declare . . . under penalty

of perjury . . . that the” contents of the declaration are “true

and correct”). Although Plaintiff has signed the statement , it

was not signed under penalty of perjury, (see Doc. 75-12 at 4),

making it equivalent to an unverified complaint. To survive

summary judgment, Plaintiff cannot rest on unverified statements

to create a genuine dispute of fact. Cf. Mitchell v. Data Gen.

Corp., 12 F.3d 1310, 1315–16 (4th Cir. 1993) (“The summary

judgment inquiry thus scrutinizes the plaintiff’s case to

determine whether the plaintiff has proffered sufficient proof,

in the form of admissible evidence, that could carry the burden




under penalty of perjury. Federal Rule of Civil Procedure 56 no
longer requires a formal affidavit, but the document must still
comply with the requirements of § 1746. See Fed. R. Civ. P.
56(c)(4) advisory committee’s note to 2010 amendment. Because
neither Exhibit A nor the email attached to Exhibit K meet the
requirements of § 1746, they should be stricken for this
separate reason.

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of proof of his claim at trial.”). Therefore, this court will

strike Plaintiff’s Exhibit L, (Doc. 75-12), from the record.5

     B.     YouTube Video

     Exhibit I is a link to a YouTube video “Greensboro police

brutality.” (Doc. 75-9 at 2.) Defendants argue this court cannot

consider this exhibit because it “has not been authenticated in

any manner.” (Defs.’ Reply (Doc. 79) at 2.) Federal Rule of

Civil Procedure 56(c)(2) requires “the material cited to . . .

be presented in a form that would be admissible in evidence” at

trial. Although at present the exhibit may not have been

authenticated by Plaintiff, this court finds it likely that

Plaintiff would be able to authenticate the YouTube video at

trial considering the YouTube video purports to reflect the

underlying events of this case involving Plaintiff. As will be

more fully discussed infra Section V.C, this court finds that

even assuming Exhibit I could be authenticated, it does not

create a genuine dispute of material fact.

     This court will now address Defendants’ motion for summary

judgment.


     5 This court notes that Plaintiff was given notice of the
motion for summary judgment filed against him and the
opportunity “to file affidavits or evidence in rebuttal” along
with his response brief, and he was “reminded that affidavits
must be made on personal knowledge, contain facts admissible in
evidence and be made by one shown to be competent to testify.”
(Doc. 73 at 1.)
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IV.   STANDARD OF REVIEW

      Summary judgment is appropriate when “there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a); see Celotex

Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). This court’s

summary judgment inquiry is whether the evidence “is so one-

sided that one party must prevail as a matter of law.” Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). The moving

party bears the initial burden of demonstrating “that there is

an absence of evidence to support the nonmoving party’s case.”

Celotex, 477 U.S. at 325. If “the moving party discharges its

burden . . ., the nonmoving party then must come forward with

specific facts showing that there is a genuine issue for trial.”

McLean v. Patten Cmtys., Inc., 332 F.3d 714, 718–19 (4th Cir.

2003).

      A factual dispute is genuine when “the evidence is such

that a reasonable jury could return a verdict for the nonmoving

party.” Anderson, 477 U.S. at 248; see also First Nat’l Bank of

Ariz. v. Cities Serv. Co., 391 U.S. 253, 289–90 (1968)

(recognizing that a dispute is not genuine for summary judgment

purposes when one party rests solely on allegations in the

pleadings and does not produce any evidence to refute

alternative arguments). This court must look to substantive law


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to determine which facts are material because only those “facts

that might affect the outcome of the suit under the governing

law will properly preclude the entry of summary judgment.”

Anderson, 477 U.S. at 248.

       In addition, “the mere existence of some alleged factual

dispute between the parties will not defeat an otherwise

properly supported motion for summary judgment.” Id. at 247–48.

“[T]he non-moving party must do more than present a ‘scintilla’

of evidence in its favor.” Sylvia Dev. Corp. v. Calvert Cnty.,

48 F.3d 810, 818 (4th Cir. 1995) (quoting Anderson, 477 U.S. at

252). “What Rule 56(e) does make clear is that a party cannot

rest on the allegations contained in his complaint in op position

to a properly supported summary judgment motion made against

him.” First Nat’l Bank of Ariz., 391 U.S. at 289. Summary

judgment should “be granted unless a reasonable jury could

return a verdict for the nonmovant on the evidence presented.”

McLean, 332 F.3d at 719.

V.     ANALYSIS

       To prevail on a § 1983 claim, Plaintiff must show that he

was deprived of a federal statutory or constitutional right and

that “deprivation was committed under color of state law.” Am.

Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 49-50 (1999). But

if Defendants establish that Plaintiff failed to show a


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violation of a clearly established constitutional right,

qualified immunity shields Defendants from liability. See

Pearson v. Callahan, 555 U.S. 223, 232 (2009).

     A.   Unconstitutional Detention Claim

     Plaintiff brings a § 1983 claim for unconstitutional

detention arising out of Plaintiff’s initial interaction with

Defendants. (See Mem. Op. & Order (Doc. 48) at 3–4.) Defendants

argue summary judgment should be granted on Plaintiff’s

unconstitutional detention claim because there is no evidence a

Fourth Amendment seizure occurred, and even if such a seizure

did occur, it was supported by reasonable suspicion. (Defs.’ Br.

(Doc. 72) at 10–17.)

     The Fourth Amendment prohibits “unreasonable searches and

seizures.” U.S. Const. amend. IV. “[N]ot every police -citizen

encounter will implicate this prohibition. For example, it is

well-settled that ‘a seizure does not occur simply because a

police officer approaches an individual and asks a few

questions.’” United States v. Cloud, 994 F.3d 233, 241 (4th Cir.

2021) (citation omitted) (quoting Florida v. Bostick, 501 U.S.

429, 434 (1991)). In cases where the police-citizen encounter is

consensual, “no inquiry into the reasonableness of the officer’s

justification for engaging the individual” is required. Id.




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     Although a consensual encounter does not implicate the

Fourth Amendment, even “‘brief investigatory stops’ are

‘seizures’ that implicate the Fourth Amendment.” Id. (quoting

United States v. Curry, 965 F.3d 313, 319 (4th Cir. 2020)). The

Supreme Court has held that a seizure triggering Fourth

Amendment protection occurs when officers employ “‘physical

force’ or a ‘show of authority’ that ‘in some way restrain[s]

the liberty’ of the person.” Torres v. Madrid, 141 S. Ct. 989,

995 (2021) (alteration in original) (quoting Terry v. Ohio, 392

U.S. 1, 19 n.16 (1968)).

     In this case, Plaintiff admits there was no physical force

during his first encounter with Defendants. (See Jones Dep.

(Doc. 72-3) at 21–22 (“Yeah. Nothing like they -- they didn’t

put their hands on us.”).) Therefore, this court need only

determine whether there is evidence of a “show of authority,”

Terry, 392 U.S. at 19 n.16, such that a Fourth Amendment seizure

occurred.

            1.   Acquiescence to Show of Authority

     “[A] show of authority occurs if the totality of the

circumstances demonstrates that a reasonable person, measured

objectively from an innocent citizen’s perspective, ‘would have

believed that he was not free to leave.’” Cloud, 994 F.3d at 242

(quoting United States v. Mendenhall, 446 U.S. 544, 554 (1980)).


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The Fourth Circuit has identified “six broad, non-exclusive

categories of facts that may be relevant” to the determination

of “whether a reasonable person . . . would have felt free to

leave the scene or otherwise terminate the encounter with

police.” Id. Those categories are:

     (1) how many officers were present; (2) whether
     officers were in uniform and/or displayed firearms;
     (3) whether any officer touched the defendant or made
     any attempt to block or restrain his movement; (4) if
     the officer’s questioning was “‘conversational’ rather
     than ‘intimidating’”; (5) whether the officer informed
     the defendant that he suspected him of illegal
     activity, or treated the encounter as “routine”; and
     (6) if the officer asked for identification, how
     quickly the officer returned it to the defendant.

Id. at 242–43 (quoting United States v. Gray, 883 F.2d 320, 322–

23 (4th Cir. 1989)).

     But “a show of authority does not alone implicate the

Fourth Amendment. . . . For a seizure to occur, the [individual]

must actually submit to that show of authority.” Id. at 242

(emphasis added). The “submission need not be explicit,” but

“[w]hatever form it takes, ‘without actual submission to the

police, there is at most an attempted seizure, which is not

subject to Fourth Amendment protection.’” Id. (some internal

quotation marks omitted) (quoting United States v. Stover, 808

F.3d 991, 996 (4th Cir. 2015)). The Fourth Circuit has held that

an individual submitted to a show of authority when the

individual, surrounded by a group of police officers, was

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“extremely cooperative” with officers, volunteered his

identification badge—which an officer then pinned to his

uniform, and remained at the scene while other officers frisked

the other individuals present. See United States v. Black, 707

F.3d 531, 535–38 & n.3 (4th Cir. 2013). Conversely, an

individual does not submit to a show of authority when he

ignores an officer’s orders and questions and walks away from

the officer “without restraint or hindrance.” Cloud, 994 F.3d at

245. When an individual’s “initial action [is] not to c ooperate

with police and answer their questions,” but instead to

“disobey[] a police order,” the individual has not submitted to

any show of authority. Stover, 808 F.3d at 999–1001.

     Defendants argue “there is no evidence indicating that the

officers’ conversation with the group . . . was anything but

conversational.” (Defs.’ Br. (Doc. 72) at 11.) Defendants

further argue that because “the officers did not ask Plaintiff

for his identification, inform him that he was suspected of

illegal activity, or command him to stop and address them,” and

because there was “a clear point of egress available to

[Plaintiff] had he wanted to end the encounter,” there was not a

show of authority. (Id. at 11–12.) This court need not determine

whether there was a show of authority, because even if there

was, there is no genuine dispute of material of fact about


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whether Plaintiff submitted to any show of authority by the

officers.

     Assuming Defendants blocked Plaintiff’s free passage,

Defendants argue “Plaintiff and his friends had not yet

attempted to leave the area when they were approached by the

officers . . . so, Plaintiff did not acquiesce to” Defendants’

show of authority. (Id. at 12.) Defendants further argue there

was no acquiescence because there is no evidence Plaintiff

answered any of Defendants’ questions. (Id. at 13.) This court

agrees that Plaintiff did not submit to any show of authority

and finds that summary judgment should be granted for Defendants

as to Plaintiff’s unconstitutional detention claim.

     First, Plaintiff’s own deposition testimony reflects that

he never submitted to any show of authority. When Defendants

approached Plaintiff and his friends, Plaintiff was “close

enough to touch the car,” (Jones Dep. (Doc. 72-3) at 17), and

thus was not blocked by Defendants because he could have gotten

into the car and left the scene. Plaintiff and his friends had

not tried to leave the area prior to Defendants’ arrival , nor

were they in the process of leaving when Defendants arrived.

(Id. at 20.) When Defendants arrived, they asked the group

questions, but there is no evidence Plaintiff or anyone else

answered those questions. (See id. at 19–20.) According to


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Plaintiff, Defendants never told him that he could not leave.

(Id. at 21.) And when Plaintiff asked if he could leave,

Defendants responded, “Yes, you all can go.” (Id.) Plaintiff

admits that he did not interpret Defendants’ questions as an

order.

     Q. They asked you what you were doing in that area?
     A. (Nods head up and down)
     Q. Okay. And you didn’t take that as an instruction to
     leave at that point?
     A. No. Why would I?
     Q. Okay. I’m just asking. But then you asked to leave
     ---
     A. (Nods head up and down)
     Q. --- and they let you go? All right.

(Id. at 22.)

     Second, Plaintiff’s deposition testimony aligns with the

sworn declarations of Defendants who were at the scene.

Defendant Flowers stated that “[t]he officers did not make any

formation ‘surrounding’ [Plaintiff] or his companions.” (Flowers

Decl. (Doc. 72-1) ¶ 6.) Defendant Flowers also confirmed

Plaintiff “was free to leave at any time during the

conversation” with Defendants. (Id. ¶ 11.) After Plaintiff asked

if he could leave, “as [the group] left, they continued to yell

at the officers.” (Chavez Decl. (Doc. 72-2) ¶ 10.)

     Although “a range of conduct exists between . . . ‘passive

acquiescence’ . . . and . . . headlong flight,” Stover, 808 F.3d

at 998, this court finds there is no genuine dispute of material


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fact as to whether Plaintiff acquiesced to any show of

authority. From the time Defendants arrived on the scene to the

time Plaintiff and his friends asked to leave and left, the

evidence shows Plaintiff and his friends were far from being

“extremely cooperative,” Black, 707 F.3d at 536, with

Defendants. On the contrary, they “appeared angry” and were

“yell[ing] at the officers.” (Chavez Decl. (Doc. 72-2) ¶¶ 6,

10.) Because the evidence before this court reflects that

Plaintiff did not submit to a show of authority, “‘there [was]

at most, an attempted seizure,’ which is not subject to Fourth

Amendment protections.” Cloud, 994 F.3d at 242 (quoting Stover,

808 F.3d at 996).

     Plaintiff argues Defendants’ declarations are

contradictory, and therefore summary judgment should be denied.

(See Pl.’s Resp. (Doc. 75-1) at 2, 6.) For example, Plaintiff

contends Chavez and Flowers’ declarations are contradictory

because they “allege different facts, which call[s] into

question the credibility of both statements.” (Id. at 2.) On

summary judgment, this court does not make credibility

determinations or weigh the evidence. Anderson, 477 U.S. at 255

(“Credibility determinations, the weighing of the evidence, and




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the drawing of legitimate inferences from the facts are jury

functions, not those of a judge[.]”).

     Plaintiff also argues there was a show of authority because

“[o]fficers with the[ir] weapons displayed on their hips, with

badges, in uniform, on police bikes stopped what they were doing

and approached the plaintiff to address Plaintiff.” (Pl.’s Resp.

(Doc. 75-1) at 6.) But nowhere does Plaintiff argue that he

submitted to such show of authority. (See id.) Plaintiff fails

to show there is a genuine dispute of material fact regarding

Plaintiff’s unconstitutional detention claim.

     This court finds Defendants have discharged their burden of

proving “that there is an absence of evidence to support

[Plaintiff’s] case,” Celotex, 477 U.S. at 325, and Plaintiff has

failed to offer evidence showing there is a genuine question

whether Plaintiff submitted to any show of authority by

Defendants. Accordingly, this court will grant summary judgment

for Defendants as to Plaintiff’s unconstitutional detention

claim.

     B.   Bystander Liability Claim

     Plaintiff also brings a § 1983 claim arising out of

Plaintiff’s initial encounter with Defendants under a theory of

bystander liability. (See Mem. Op. & Order (Doc. 48) at 17.) To

bring a bystander liability claim, “a plaintiff must demonstrate


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that a law enforcement officer (1) knew that a fellow officer

was violating an individual’s constitutional rights; (2) had a

reasonable opportunity to prevent the harm; and (3) chose not to

act.” Stevenson v. City of Seat Pleasant, 743 F.3d 411, 417 (4th

Cir. 2014) (alterations and internal quotation marks omitted)

(quoting Randall v. Prince George’s Cnty., 302 F.3d 188, 204

(4th Cir. 2002)). “[S]uch a duty attaches when an officer

observes or has reason to know that a ‘constitutional violation

[is being] committed’ by other officers and possesses ‘a

realistic opportunity to intervene to prevent the harm from

occurring.’” Randall, 302 F.3d at 203-04 (quoting Anderson v.

Branen, 17 F.3d 552, 557 (2d Cir. 1994)).

     As explained above, there was no constitutional violation

arising out of Defendants’ initial encounter with Plaintiff,

supra Section V.A, so Plaintiff’s claim for bystander liability

also fails. See Lytes v. Smith, 11 F. Supp. 3d 527, 541 (D.S.C.

2014) (granting the defendants’ motion for summary judgment on

the plaintiff’s § 1983 claim of bystander liability against an

officer because no constitutional violation occurred). This

court will grant summary judgment for Defendants as to




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Plaintiff’s bystander liability claim regarding the initial

detention.6

     C.   Unconstitutional Arrest Claim

     Plaintiff also brings a § 1983 claim for unconstitutional

arrest arising out of Plaintiff’s second interaction with

Defendants Alvarez and Flowers. (See Mem. Op. & Order (Doc. 48)

at 47.) Defendants argue they had probable cause to arrest

Plaintiff, so there was no Fourth Amendment violation. (Defs.’

Br. (Doc. 72) at 17–20.)

     The Fourth Amendment prohibits unreasonable seizures. U.S.

Const. amend. IV. “An arrest is a seizure of the person.” Wilson

v. Kittoe, 337 F.3d 392, 398 (4th Cir. 2003) (quoting Rogers v.

Pendleton, 249 F.3d 279, 290 (4th Cir. 2001)). Generally,

warrantless seizures without probable cause are unreasonable.

See Bailey v. United States, 568 U.S. 186, 192 (2013); Curry,

965 F.3d at 319. But “[a] warrantless arrest is reasonable if

the officer has probable cause to believe the suspect committed

a crime in the officer’s presence.” District of Columbia v.


     6 This court notes Plaintiff does not substantively address
bystander liability in his response. (See Pl.’s Resp. (Doc. 75-
1).) “Courts have recognized that a party’s failure to address
an issue in its opposition brief concedes the issue.” Oliver v.
Baity, 208 F. Supp. 3d 681, 690 (M.D.N.C. 2016) (collecting
cases). The failure to address bystander liability in
Plaintiff’s response brief is another reason supporting this
court granting summary judgment on his bystander liability
claim.
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Wesby, 138 S. Ct. 577, 586 (2018); see also Devenpeck v. Alford,

543 U.S. 146, 152 (2004).

     With respect to § 1983 claims based on arrests without

probable cause, “[w]here . . . an arrest is based on probable

cause, it cannot result in a constitutional violation. And in

the absence of a constitutional violation, qualified immunity

applies and the court need not address whether the

constitutional right in question was clearly established.”

Cranford v. Kluttz, 278 F. Supp. 3d 848, 873 (M.D.N.C. 2017)

(quoting Swick v. Wilde, No. 1:10-cv-303, 2012 WL 3780350, at *9

(M.D.N.C. Aug. 31, 2012)); see also Durham v. Horner, 690 F.3d

183, 190 (4th Cir. 2012) (finding probable cause for the arrest

and thus no “essential constitutional violation underlying a

§ 1983 claim”); Sowers v. City of Charlotte, No. 3:14-cv-523-

RJC-DCK, 2015 WL 8491498, at *4 (W.D.N.C. Dec. 9, 2015)

(“Because the officers had probable cause, Plaintiff’s arrest

was valid, and there was no violation of his constitutional

rights. There is accordingly no basis for a finding of any

liability on the part of the defendant officers under federal or

state law.”).

     The critical inquiry is whether the facts establish

probable cause for the arrest. “Probable cause to justify an

arrest means facts and circumstances within the officer’s


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knowledge that are sufficient to warrant a prudent person, or

one of reasonable caution, in believing, in the circumstances

shown, that the suspect has committed an offense.” Humbert v.

Mayor & City Council of Balt. City, 866 F.3d 546, 555 (4th Cir.

2017) (alterations and internal quotation marks omitted)

(quoting Cahaly v. Larosa, 796 F.3d 399, 407 (4th Cir. 2015)).

“Probable cause is determined by a ‘totality-of-the-

circumstances’ approach.” Smith v. Munday, 848 F.3d 248, 253

(4th Cir. 2017) (quoting Illinois v. Gates, 462 U.S. 213, 230

(1983)); see Gates, 462 U.S. at 243 n.13 (“[P]robable cause

requires only a probability or substantial chance of criminal

activity, not an actual showing of such activity.”) . Courts must

consider “the whole picture,” Wesby, 138 S. Ct. at 588 (quoting

United States v. Cortez, 449 U.S. 411, 417 (1981)), and evidence

sufficient to secure a conviction is not required, Hupp v. Cook,

931 F.3d 307, 318 (4th Cir. 2019). Rather, probable cause

“requires only a probability or substantial chance of criminal

activity, not an actual showing of such activity,” which “is not

a high bar.” Wesby, 138 S. Ct. at 586 (quoting Gates, 462 U.S.

at 243 n.13; Kaley v. United States, 134 S. Ct. 1090, 1103

(2014)).

     Plaintiff was arrested for violating North Carolina General

Statutes Sections 14-444 and 14-159.13 (Magistrate’s Order


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(Doc. 12-1) at 2.) Section 14-444 makes it unlawful for any

person in a public place to be intoxicated and disruptive.

“Intoxicated” is defined as “the condition of a person whose

mental or physical functioning is presently substantially

impaired as a result of the use of alcohol.” N.C. Gen. Sta t.

§ 14-443(2). “[P]ublic place” is defined as “a place which is

open to the public, whether it is publicly or privately owned.”

Id. § 14-443(3).

     “[M]ere public intoxication standing alone [is] no longer

to be considered unlawful and further, that for there to be a

chargeable offense, the intoxicated person must be disruptive in

one or more of the ways described in G.S. 14-444(a), subsection

(1) through (5).” State v. Cooke, 49 N.C. App. 384, 390, 271

S.E.2d 561, 565 (1980). An individual violates Section 14-444

when he is disruptive by:

     (1)   Blocking or otherwise interfering with traffic on
           a highway or public vehicular area, or
     (2)   Blocking or lying across or otherwise preventing
           or interfering with access to or passage across a
           sidewalk or entrance to a building, or
     (3)   Grabbing, shoving, pushing or fighting others or
           challenging others to fight, or
     (4)   Cursing or shouting at or otherwise rudely
           insulting others, or
     (5)   Begging for money or other property.

N.C. Gen. Stat. § 14-444(a).

     Defendants argue they had probable cause to believe

Plaintiff committed the state-law crime of public intoxication

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and disruption because “the evidence on record demonstrates that

Plaintiff exhibited behavior indicative of intoxication,

including excessive sweating, slurred speech, aggressive speech

and yelling, difficulty comprehending others, and his brea th

smelled of alcohol.” (Defs.’ Br. (Doc. 72) at 20.) Defendants

also point to Plaintiff’s refusal to leave the area after

Defendants ordered him to leave. (Id.) On the other hand,

Plaintiff argues “[t]here is no actual evidence to show

[P]laintiff consumed any alcohol while downtown or exhi bit[ed]

the smell of alcohol or intoxicated behavior while downtown.”

(Pl.’s Resp. (Doc. 75-1) at 3.) In his deposition, Plaintiff

asserted he did not have any alcoholic drinks after he was

downtown until he ordered a beer at the bar. (Jones Dep.

(Doc. 72-3) at 26.)

     Two cases are instructive in determining whether Defendants

had probable cause to arrest Plaintiff. In Cooke, deputy

sheriffs responded to a call complaining of a man yelling

outside of an inn. 49 N.C. App. at 385–87, 271 S.E.2d at 562–63.

The deputies observed the defendant standing in the parking lot

shouting, smelled alcohol on the defendant, and observed that

the defendant’s eyes were “wild and glassy looking.” Id. The

deputies arrested the defendant. Id. On appeal, the defendant

argued the deputies did not have probable cause to arrest him.


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Id. The North Carolina Court of Appeals held that although the

defendant’s conduct was not in violation of Section 14-444, “the

complaint received by the officers, combined with the conduct

they observed, gave them reasonable grounds to suspect that

defendant was in violation of the statute and that they

therefore had probable cause to make the arrest.” Id. at 390,

271 S.E.2d at 565.

     Similarly, in State v. Sanderlin, deputy sheriffs were

attempting to serve an arrest warrant and approached the

defendant and two other individuals. 261 N.C. App. 116, 817

S.E.2d 628, 2018 WL 3978020, at *1 (Aug. 21, 2018) (unpublished

table decision). Upon questioning from the deputies, the

defendant began yelling and “excitedly speaking.” Id. The deputy

noticed the defendant had a forty-ounce beer in his pocket and

detected the odor of alcohol on the defendant. Id. Due to the

defendant’s behavior and the deputy’s observations, the deputy

placed the defendant under arrest. Id. On appeal, the defendant

argued there was not probable cause justifying his arrest. See

id. at *2. The North Carolina Court of Appeals held that “like

the defendant in Cooke, Defendant’s conduct and public

intoxication created reasonable grounds for [the deputy] to

suspect Defendant was in violation of [Section 14-444], giving

him probable cause to arrest Defendant.” Id. at *3.


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     In this case, Defendants Alvarez and Flowers observed a

commotion outside of the bar. (See Flowers Decl. (Doc. 72-1)

¶ 13; Alvarez Decl. (Doc. 72-5) ¶ 5.) The “commotion” was

Plaintiff being removed from the bar by a bouncer. (Alvarez

Decl. (Doc. 72-5) ¶ 5.) Defendant Alvarez “smelled alcohol on

[Plaintiff’s] breath and noticed that he had slurred speech” and

“was sweating significantly.” (Id. ¶ 6.) Defendant Alvarez also

observed Plaintiff “raise[] his voice and yell[] at [Defendant

Alvarez] and the other officers.” (Id. ¶ 10.) In addition to

Defendant Alvarez’s observations, Defendant Flowers “observed

. . . a commotion outside of the Boiler Room bar” involving

Plaintiff. (Flowers Decl. (Doc. 72-1) ¶¶ 13–14.) Defendant

Flowers “spoke with a member of [the bar’s] security staff” who

“confirmed that [Plaintiff] . . . had been ejected from the

bar.” (Id. ¶ 15.) Defendant Flowers noticed that Plaintiff “did

not seem to be comprehending any of the activity taking place

around him, including [Defendant Flowers’] orders to leave the

area.” (Id. ¶ 17.) He also observed Plaintiff “yelling,”

“arguing,” and “invading [Defendant Flowers’] personal space.”

(Id.) The interaction between Defendants Flowers and Alvarez and

Plaintiff occurred on the sidewalk near the bar, which is a

“public place” under North Carolina General Statute Section 14-

444(a). (See id. ¶ 16; Alvarez Decl. (Doc. 72-5) ¶¶ 5–7.) Like


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the officers in Cooke and Sanderlin, Defendants Alvarez and

Flowers had reasonable grounds to suspect Plaintiff was in

violation of Section 14-444 because they observed Plaintiff

being removed from a bar and Plaintiff’s conduct towards them.

See Cooke, 49 N.C. App at 390, 271 S.E.2d at 565; Sanderlin,

2018 WL 3978020, at *3.

     Plaintiff takes issue with Defendants Alvarez and Flowers’

declarations and argues the YouTube video contradicts their

declarations.7 (See Pl.’s Resp. (Doc. 75-1) at 3–8.) On the

contrary, this court finds the YouTube video offered by

Plaintiff, if anything, bolsters Defendants’ declarations.

Although not clear from the video, the video appears to begin

outside of the bar shortly after Plaintiff had been removed. One

individual, presumably Plaintiff, is standing off to the side.

One of the officers approaches the group and tells the other

officers Plaintiff has been kicked out, and the group needs to



     7 Throughout Plaintiff’s response brief, he points out
“contradict[ions]” in Defendants’ evidence. (See, e.g., Pl.’s
Resp. (Doc. 75-1) at 2.) While it may be true that there are
factual discrepancies in the officers’ declarations as argued by
Plaintiff, “the mere existence of some alleged factual dispute
between the parties will not defeat an otherwise properly
supported motion for summary judgment; the requirement is that
there be no genuine issue of material fact.” Ballinger v. N.C.
Agric. Extension Serv., 815 F.2d 1001, 1005 (4th Cir. 1987)
(quoting Anderson, 477 U.S. at 247–48). Plaintiff cannot create
a genuine issue of material fact by pointing to non-essential
factual discrepancies. Cf. Celotex, 477 U.S. at 322.
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leave the area. Yelling and arguing ensues directed at the

officers.

     This court finds the YouTube video fails to create a

genuine dispute of material fact regarding whether the officers

had probable cause to arrest Plaintiff for public intoxication

and disruption. The YouTube video appears to mirror the

descriptions contained in Defendants Alvarez and Flowers’

declarations. No one is identified in the video, and the video

does not appear to capture the entirety of the interaction

outside of the bar. Notably, the court cannot glean from the

video anything about Plaintiff’s interactions with Defendants

Flowers and Alvarez because the individual this court presumes

to be Plaintiff is in the background of the video or not in the

frame of the video at all for portions of the video. Even

assuming Plaintiff was not actually in violation of Section 14-

444, Plaintiff has failed to create a genuine question whether

the deputies reasonably suspected Plaintiff was in violation of

that statute. The issue is not whether Plaintiff in fact

violated the statute but whether Defendants Alvarez and Flowers

rationally believed there was “a substantial chance” that

Plaintiff was violation Section 14-444.8 See Wesby, 138 S. Ct. at


     8 Because there is no genuine dispute of material fact as to
whether Defendants had probable cause to believe Plaintiff was
violating Section 14-444, this court need not determine whether
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586 (quoting Gates, 462 U.S. at 243 n.13); see also Gerstein v.

Pugh, 420 U.S. 103, 121 (1975). For the reasons stated above,

this court finds Defendants had probable cause to arrest

Plaintiff for violating Section 14-444. Because Defendants had

probable cause to arrest Plaintiff, Plaintiff’s arrest did not

violate the Fourth Amendment. Therefore, this court will grant

summary judgment for Defendants as to Plaintiff’s

unconstitutional arrest claim.

      Because this court has determined that summary judgment

should be granted to Defendants on all claims, it does not reach

the question of whether Defendants are entitled to qualified

immunity.

VI.   CONCLUSION

      For the foregoing reasons, this court will deny as moot

Plaintiff’s motion for extension, (Doc. 76), and will grant

Defendants’ Motion for Summary Judgment, (Doc. 71).

      IT IS THEREFORE ORDERED that Plaintiff’s motion for

extension, (Doc. 76), is DENIED as moot and that Plaintiff’s

discovery responses, (Doc. 77-1), are deemed timely filed as of

May 9, 2022.




there is a genuine dispute of material fact as to whether
Defendants had probable cause to believe Plaintiff was violating
North Carolina’s second-degree trespass statute.
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    IT IS FURTHER ORDERED that Defendants’ Motion for Summary

Judgment, (Doc. 71), is GRANTED.

    IT IS FURTHER ORDERED that Defendants’ Motion for

Sanctions, (Doc. 82), is DENIED as moot.

    IT IS FURTHER ORDERED that Defendants’ Motions in Limine,

(Doc. 84), is DENIED as moot.

    A judgment consistent with this Memorandum Opinion and

Order will be entered contemporaneously herewith.

    This the 5th day of July, 2022.



                              __________________________________
                                 United States District Judge




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